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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )                  4:09CR3044-5
                                           )
              v.                           )
                                           )
BELINDA ROGERS,                            )                     ORDER
                                           )
                     Defendants.           )
                                           )


       No objection has been filed to plaintiff’s motion to dismiss. Accordingly,


       IT IS ORDERED that plaintiff’s motion to dismiss (filing 270) is granted. The
plaintiff’s motion to reduce sentence pursuant to Rule 35(b) (filing 231) is dismissed.


       DATED this 9 th day of October, 2012.

                                          BY THE COURT:

                                          Richard G. Kopf
                                          Senior United States District Judge
